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                                                                               FILED By             - -
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                                IJN ITED STA TE S D ISTR ICT C O U R T               AxosuAs. NosuE
                                SYW IV RN DISTRICT 0FR ORTDA                         CL
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                                                                                          KUF'S D-IS
                                                                                              LA.   IRs.
                                                                                                   w. cl
                                   W EST PA LM BEA CH D IW SIO N

                                  CA SE N O .22-CV -81294-C A > 0 N

        D ON A LD X TRU M P ,

                Plaintiff,

                                                         U N D ER SEA L A r     EX PA RTE

       U M TED STA TE S 0 F AM ERIC A ,

                D efendant.
                                             /

                   NOTICE BY IN VESTIGATIVE TEAM OF STA TU S OF REVIEW

                In its order ofA ugust 27,2022,the Courtordered the undersigned to provide a

        ''particularized notice indicating the stams of Ethe government's) review of the seized
       property.'' D .E.29 (the 'dpreliminary Order'') at 2,Section 3.b.ii. Thks submission
       represents the ùw estigative team 's notice.l A separate notice w itl be flled by the t'S ter''

       team .

                Asofthedateofthisflling,theinvestigativeteam hascom pleted aprelim inaryreview

       ofthe m aterialsseized pursuantto the search warrantexecuted on A ugust8,2022,with the

       exception of any potentially attom ey-client privileged m aterials that,pursuant to the fllter

       protocolssetforth in thesearch w arrantaf davit,havenotbeen providedto theinvestigative

       team . Thedocum entsbealingclassitk ation m arkingsthatwereseized duringtheexecution

       ofthe search wananthavebeen segregated 9om the rem ainderofthe seized m aterials and


       1 The Prelim inary Orderindicated thatthisnotice should be filed underseal. ln an abundance
       ofcaution,the governm entisfiling thisN otice undersealand exparte since itcontainsthe type
       ofinfonuation that,in the norm alcourse,w ould notbe shared w ith the ownerofa prem isesthat
       was searched pursuantto a court-authorized crim inalsearch w arrant.
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            !
                    are being separately stored in accordance with the appropriate procedures govem ing the

                    security ofclassified m aterial.

                           Theinvestigativeteam hasreviewed theseized m aterialsin furtheranceofit.
                                                                                                  songoing

                    itw estigation, evaluating the relevance and charader of each item seized, and m aking

                    preliminary determ inations about investigative avenues suggested or w arranted by the

                    charaderand nature ofthe seized item s. The seized m aterials willcontinue to be used to

                    furtherthe governm ent's ùwestigation,and the hw estigative team witlcontinue to use and

                    evaluatetheseized m aterialsasittakesfurtherinvestigativesteps,such asthroug,h additional

                    wimessinterviews and pand jury practice. Additionally,allevidence pertaining to the
                    seized item s- including,butnotlim itedto,thenam reand mannerinwhich they werestored,

                    asw ellasany evidencew ith resped to particula.
                                                                  r docum ents oritem s ofinterest- w illinform

                    the governm ent's investigation. Thus,it Ls important to note, ''review'' of the seized

         l          materialsisnotasingleinvestigativestepbutanongoingprocessintllisactivecriminal
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         j                                                             '
         '          investigation. That said,the governm ent can consrm for the C oul't that the investigative

                    team hasalreadyexaminedeveryitem seized(ot.
                                                              herthan materialsthatremainsubjed tothe
                    ftlterprotocols),even asitsinvestigation and furtherreview continues. The ùwestigative
                    team hasbeen and willbe continually m indfulofthe potentialfor attorney-clientprivilege

                    issues and the fllterprotocolscontained irlthe search w arrant.

                           Additionally,asthe governm enthasseparately explained in itsN otice ofReceiptof

                    Prelim inary O rder and A ttorney A ppearance,D .E.31,the D epartm ent of Justice and the
        1           Office ofthe Director ofNationalIntelligence (''ODNI'')are facilitating a classïcation
        1
        l
        l           review of m aterials recovered pursuant to the search warrant, and ODN I Ls leading an
                    intelligence comm unity assessm entofthepotentialrisk to nationalsecuritythaswouldresult
                                                                 2
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    f'
     rom disclosure oftheseized m aterials.

          As direded by the Court'sPrelim inary Order,the governm enthas attached a m ore

    detailed property receiptasExhibitA hereto.



                                                  Respedfully subm itted,


                                                  /sJuan Antonio Gonzalez
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